           Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 1 of 16



Andrea Santarsiere (ISB #8818)
Center for Biological Diversity
P.O. Box 469
Victor, ID 83455
(303) 854-7748
asantarsiere@biologicaldiversity.org

Lauren M. Rule (ISB #6863)
Advocates for the West
3701 SE Milwaukie Ave, Suite B
Portland, OR 97202
(503) 914-6388
lrule@advocateswest.org

Attorneys for Plaintiffs




                           UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO
                                       Northern Division


CENTER FOR BIOLOGICAL
DIVERSITY, THE LANDS COUNCIL,
and DEFENDERS OF WILDLIFE,

          Plaintiffs,
                                                     Case No.:______________
     v.

                                                     COMPLAINT
DAVID BERNHARDT, in his official
capacity as Secretary of the Interior; and
UNITED STATES FISH AND WILDLIFE
SERVICE,

          Defendants.




COMPLAINT – 1
         Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 2 of 16




                                       INTRODUCTION
       1.      Woodland caribou, often referred to as North America’s reindeer, are one of the
most endangered animals on the continent. These animals historically inhabited temperate rain
forests of Canada and the northern United States, but their numbers and range have shrunk
substantially in both countries.
       2.      In the lower 48 states, woodland caribou once occurred in New England, the
upper Midwest and the northern Rocky Mountains. By the time they were protected under the
Endangered Species Act in 1982, woodland caribou in the United States had declined to just one
small population that used habitat in Idaho, Washington and southern British Columbia, known
as the southern Selkirk Mountains population of woodland caribou.
       3.      Despite this protection, these caribou continued to decline in the face of logging,
forest fires, increased snowmobiling, predation, and other threats. In January 2019, Canadian
officials took the last animals from the southern Selkirk population of woodland caribou into
captivity, meaning caribou are no longer present in the lower 48 states.
       4.      The caribou’s long decline demonstrated the considerable need for greater
protection and sustainable recovery efforts, yet the U.S. Fish and Wildlife Service (“Service”) for
decades failed to take necessary action to recover the caribou or to provide additional protections
required by the Endangered Species Act (“ESA”), such as the designation of critical habitat.
       5.      Spurred by a petition and litigation from Plaintiffs, the Service finally proposed
designation of 375,562 acres of critical habitat in Boundary and Bonner Counties in Idaho and
Pend Oreille County in Washington on November 30, 2011, but in the end, only finalized
designation of 30,101 acres in 2012.
       6.      Plaintiffs challenged this drastic reduction of critical habitat designation and on
March 23, 2015, the U.S. District Court of Idaho remanded the Service’s final critical habitat
rule. The Service, however, has yet to finalize a new designation.
       7.      At the same time and despite the caribou’s precarious status, the Service
COMPLAINT – 2
           Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 3 of 16



considered downlisting the Selkirk Mountain population of woodland caribou from endangered
to threatened. In response to a petition to delist the caribou by Bonner County and the Idaho
State Snowmobile Association, the Service determined that the southern Selkirk Mountain
population of woodland caribou was actually part of the larger Southern Mountain Caribou
“Distinct Population Segment” (“DPS”), which also includes caribou herds in Canada. The
Service proposed designating the entire Southern Mountain Caribou DPS as threatened on May
8, 2014. The Service has failed to finalize this proposal, leaving the caribou’s status in limbo at
a time when it needs active management and habitat protection to bring it back to the lower 48
states.
          8.    Plaintiffs Center for Biological Diversity, The Lands Council, and Defenders of
Wildlife hereby challenge the Service’s failure to timely issue a final rule listing the Southern
Mountain Caribou DPS as threatened or endangered, and failure to timely issue a final critical
habitat designation in violation of the ESA and the Administrative Procedure Act (“APA”).
                                 JURISDICTION AND VENUE
          9.    This Court has jurisdiction and authority to issue the requested relief pursuant to
16 U.S.C. §§ 1540(c) and (g)(1)(C) (action arising under the ESA’s citizen suit provision); 5
U.S.C. §§ 701-706 (Administrative Procedure Act); 28 U.S.C. § 1331 (federal question); and 28
U.S.C. §§ 2201-2202 (the Declaratory Judgment Act).
          10.   Venue is proper under this Court pursuant to 28 U.S.C. § 1391(e), 16 U.S.C. §
1540(g)(3)(A), and District Local Rule 3.1 because all or a substantial part of the events or
omissions giving rise to the claims herein occurred within this judicial district.
          11.   As required by the ESA, 16 U.S.C. § 1540(g)(2)(A), Plaintiffs provided
Defendants with notice of their intent to sue over the violations of law alleged in this Complaint
more than 60 days ago. Because Defendants have not remedied these violations of law, an actual
controversy exists between the parties within the meaning of 28 U.S.C. § 2201.
          12.   The Federal Government has waived sovereign immunity in this action pursuant
to 5 U.S.C. § 702 and 16 U.S.C. § 1540(g)(1).


COMPLAINT – 3
           Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 4 of 16



                                              PARTIES

       13.       Plaintiff CENTER FOR BIOLOGICAL DIVERSITY (“the Center”) is a
nonprofit organization dedicated to the preservation, protection, and restoration of biodiversity,
native species, and ecosystems. The Center works through science, law, and creative media to
secure a future for all species, great or small, hovering on the brink of extinction. The Center is
based in Tucson, Arizona, with offices throughout the country, including in Idaho. The Center
has more than 69,000 members, including more than 3,750 in Idaho and Washington. The
Center and its members have a long-standing interest in conserving native species in the
American West and routinely advocate for native species conservation and protection. The
Center has been advocating for the conservation and protection of woodland caribou for more
than 15 years.
       14.       Plaintiff THE LANDS COUNCIL (“TLC”) is a Washington nonprofit
organization dedicated to protecting and conserving the natural resources and quality of life in
the Inland Pacific Northwest. TLC’s principle office is located in Spokane, Washington. TLC,
as an organization on behalf of its staff and members, has been extensively involved in seeking
to promote sound land management practices, including protection and recovery of woodland
caribou.
       15.       Plaintiff DEFENDERS OF WILDLIFE (“Defenders”) is a national nonprofit
conservation organization with headquarters in Washington, D.C. Defenders has more than
350,000 members nationwide, including more than 12,000 in Washington and Idaho. Defenders’
mission is to protect all native wild animals and plants in their natural communities. Defenders
has developed programs for combating species extinction, the loss of biological diversity, and
habitat alteration and destruction. Defenders has long been involved in seeking to promote the
protection and recovery of the woodland caribou in the United States as well as in Canada, and
has participated in agency proceedings relevant to the woodland caribou.
       16.       Plaintiffs, both organizationally and on behalf of their staff, members, and
supporters, have deep and long-standing interests in the preservation, protection, and recovery of


COMPLAINT – 4
         Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 5 of 16



woodland caribou. Plaintiffs have participated in many agency proceedings to protect and
recover woodland caribou of the Southern Mountain Caribou DPS. Plaintiffs also have an
interest in the effective implementation of environmental laws aimed at protecting wildlife and
wildlife habitat, including the ESA. Plaintiffs’ interests in protecting and recovering woodland
caribou are directly harmed by the Service’s failure to timely define the Southern Mountain
Caribou DPS and list it as a threatened or endangered species, and to make a final determination
designating critical habitat.
        17.     Plaintiffs’ staff, members, and supporters live near and regularly visit areas
recently occupied by woodland caribou, including but not limited to areas previously proposed
for critical habitat by the Service. Plaintiffs’ staff, members, and supporters often use these areas
for recreation, including to observe and photograph native wildlife, including woodland caribou
and other species, in their natural habitat. Plaintiffs’ staff, members, and supporters have
professional, spiritual, aesthetic, and recreational interests in woodland caribou and woodland
caribou habitat. Plaintiffs’ staff, members, and supporters have visited and plan to continue to
travel to and recreate in areas recently occupied by woodland caribou, and they will maintain an
interest in woodland caribou and woodland caribou habitat in the future. Plaintiffs’ staff,
members, and supporters’ professional, spiritual, aesthetic, and recreational interests and
enjoyment have been and will continue to be greatly diminished by the absence of woodland
caribou in these areas.
        18.     Defendants’ failure to comply with the nondiscretionary deadline for finalizing
the designation of and the requisite listing determination for the Southern Mountain Caribou
DPS, and Defendants’ failure to make a timely critical habitat designation, have harmed and will
continue to harm Plaintiffs’ interests. The injuries described above are actual, concrete injuries
presently suffered by Plaintiffs’ staff, members, and supporters, and they will continue to occur
unless this Court grants relief. These injuries are directly caused by Defendants’ inaction, and
the relief sought herein—an order compelling a listing and critical habitat determination for
woodland caribou—would redress those injuries. Plaintiffs have no other adequate remedy at
law.
COMPLAINT – 5
         Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 6 of 16



        19.     Defendant DAVID BERNHARDT is the Secretary of the United States
Department of the Interior (“Interior Department”) and the federal official in whom the ESA
vests final responsibility for listing and critical habitat decisions. David Bernhardt is sued in his
official capacity.
        20.     Defendant UNITED STATES FISH AND WILDILFE SERVICE is the agency
within the Department of the Interior that is charged with implementing the ESA for most
terrestrial species, including the woodland caribou, and is responsible for promptly complying
with the ESA’s mandatory deadlines.
                                    LEGAL BACKGROUND

I. The Endangered Species Act

        21.     The ESA declares that endangered and threatened species are of “esthetic,
ecological, education, historical, recreational, and scientific value to the Nation and its people.”
16 U.S.C. § 1531(a)(3). The purpose of the ESA is to “provide a means whereby the ecosystems
upon which endangered species and threatened species depend may be conserved, [and] provide
a program for the conservation of such endangered species and threatened species.” Id. §
1531(b). To “conserve” means “to use and the use of all methods and procedures which are
necessary to bring any endangered species or threatened species to the point at which the
measures provided pursuant to this chapter are no longer necessary.” Id. § 1532(3).
        22.     To this end, section 4 of the ESA requires that the Secretary of the Interior
Department conserve imperiled species by listing them as either “endangered” or “threatened.”
Id. § 1533(a)(1). The Secretary has delegated its administration of the ESA to the Service. 50
C.F.R. § 402.10(b).
        23.     A species is “endangered” when it is “in danger of extinction throughout all or a
significant portion of its range.” Id. § 1532(6). A species is “threatened” when it is “likely to
become an endangered species within the foreseeable future throughout all or a significant
portion of its range.” Id. § 1532(20).




COMPLAINT – 6
         Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 7 of 16



       A. Listing and Delisting Petitioning Process

       24.     An interested person may petition the Service to add or remove from the list a
particular species. Id. § 1533(b)(3)(A). Within 90 days of receiving a petition, the Service must
“to the maximum extent practicable,” make an initial finding as to whether the petition “presents
substantial scientific or commercial information indicating that the petitioned action may be
warranted.” Id. This is known as the 90-day finding.
       25.     If the Service determines that a petition presents substantial information
indicating that listing or delisting may be warranted, the agency must conduct a thorough
scientific review of the species’ status. Id. Upon completion of this “status review,” and within
12 months from the date that the Service receives the petition, the Service must make one of
three findings: (l) the petitioned action is “not warranted;” (2) the petitioned action is
“warranted;” or (3) the petitioned action is “warranted but precluded” by other pending
proposals. Id. § 1533(b)(3)(B). This is known as the 12-month finding.
       26.     If the Service’s 12-month finding concludes that the petitioned action is
warranted, the agency must publish notice of a proposed regulation in the Federal Register for
public comment. Id. § 1533(b)(3)(B)(ii). Within one year of publication of the proposed
regulation, the ESA requires the Service to render its final determination on the proposal. Id. §
1533(b)(6)(A). At such time, the Service must either adopt the petitioned action; withdraw the
proposed rule; or, if there is substantial disagreement about scientific data, delay a final
determination for up to six months to gather more scientific information. Id. §§
1533(b)(6)(A)(i), and (B)(i). This is known as the final determination or final rule.
       B. Critical Habitat

       27.     Concurrent with listing a species, the ESA requires the designation of critical
habitat. “The Secretary . . . shall, concurrently with making a determination . . . that a species is
endangered or a threatened species, designate any habitat of such species which is then
considered to be critical habitat. Id. § 1533(a)(3)(A)(i); see also id. § 1533(b)(6)(C).
       28.     If the Secretary finds that critical habitat is “not determinable” at the time of


COMPLAINT – 7
         Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 8 of 16



listing, then it “may extend the one-year period . . . by not more than one additional year . . . .”
Id. § 1533(b)(6)(C)(ii). “[B]ut not later than the close of such additional year the Secretary must
publish a final regulation, based on such data as may be available at that time, designating, to the
maximum extend prudent, such habitat.” Id.
       29.     Critical habitat includes specific areas occupied by the species with “physical or
biological features . . . essential to the conservation of the species and . . . which may require
special management considerations or protection” as well as specific areas unoccupied by the
species that “are essential for the conservation of the species.” Id. § 1532(5)(A).
       30.     Congress recognized the importance of habitat protections to the conservation of
endangered species. The legislative history of the Act shows Congress recognized the
importance of timely critical habitat designation in conserving listed species:
       [C]lassifying a species as endangered or threatened is only the first step in insuring its
       survival. Of equal or more importance is the determination of the habitat necessary for
       that species’ continued existence. . . . If the protection of endangered and threatened
       species depends in large measure on the preservation of the species’ habitat, then the
       ultimate effectiveness of the Endangered Species Act will depend on the designation of
       critical habitat.

H.R. Rep. No. 94-887 at 3 (1976) (emphasis added).

       31.     The ESA does not safeguard a species’ critical habitat until the Service designates
it. Accordingly, it is essential that the Service dutifully follow the ESA’s procedures and
deadlines to ensure it designates critical habitat in a timely manner.
       C. DPS Definition

       32.     The term “species” is defined under the ESA to include “any subspecies of fish or
wildlife or plants, and any distinct population segment of any species of vertebrate fish or
wildlife which interbreeds when mature.” 16 U.S.C. § 1532(16). Distinct population segment is
not defined under the ESA.
       33.     On February 7, 1996, the Service and the National Marine Fisheries Service
published a joint “Policy Regarding the Recognition of Distinct Vertebrate Population Segments
under the Endangered Species Act” to explain when recognizing a DPS is appropriate. 61 Fed.

COMPLAINT – 8
         Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 9 of 16



Reg. 4772 (Feb. 7, 1996). This is known as the 1996 DPS policy.
        34.     According to the 1996 DPS policy, for a population segment to qualify as a DPS,
the population segment must be discrete and significant. Id. at 4725.
        35.     A population segment may be considered significant if it satisfies either of the
following conditions: (1) persistence of the discrete population segment in an ecological setting
unusual or unique for the taxon; (2) evidence that the discrete population segment differs
markedly from other population segments in its genetic characteristics; (3) evidence that the
population segment represents the only surviving natural occurrence of the taxon that may be
more abundant elsewhere as an introduced population outside its historical range; or (4) evidence
that loss of the discrete population segment would result in a significant gap in the range of the
taxon. Id. This list is not meant to be exclusive. Id.
        36.     If the population segment qualifies as a DPS, the Service must evaluate the
conservation status of the DPS to determine whether it is endangered or threatened. Id.
II. The Administrative Procedure Act

        37.     The APA provides that “[a] person suffering legal wrong because of agency
action, or adversely affected or aggrieved by agency action within the meaning of a relevant
statute, is entitled to judicial relief thereof.” 5 U.S.C. § 702.
        38.     It further provides that the reviewing court shall “compel agency action
unlawfully withheld or unreasonably delayed.” Id. § 706(1).
                                   FACTUAL BACKGROUND

I. Woodland Caribou

        39.     Woodland caribou historically occupied much of Canada and the northern tier of
the United States, including areas in New England, the Great Lakes states, and the Pacific
Northwest. Woodland caribou no longer occupy any areas in the lower 48 states. They have
also declined significantly in many parts of Canada.
        40.     Caribou are the only member of the deer family in which both sexes grow antlers.
The southern Selkirk Mountains population of woodland caribou falls into the mountain ecotype.

COMPLAINT – 9
        Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 10 of 16



Behavioral and ecological characteristics distinguish mountain caribou from other woodland
caribou ecotypes.
       41.     Mountain caribou require large contiguous areas of high-elevation old growth
forest with little or no disturbance to survive, where they rely heavily on arboreal lichens as their
primary winter food. With hooves as large as dinner plates, they are specially adapted to walk
upon deep snowpack. They also have a range of adaptations allowing them to persist in cold
winter climates, including thick winter coats and an ability to lower metabolism in winter months
by reducing energy expenditure. These adaptations allow mountain caribou to migrate to high
elevation areas in winter, where they face little competition for food and few predators due to
most species’ use of lower elevation habitat in winter. However, increased human activity in
mountain caribou winter habitat has diminished their food source and increased disturbance,
causing caribou to expend additional energy during this difficult time of year.
       42.     Mountain caribou currently inhabit mountainous terrain in eastern British
Columbia and until recently, inhabited the Selkirk Mountains of northern Idaho and northeast
Washington. The Southern Mountain Caribou DPS consists of numerous herds. Most of the
Southern Mountain Caribou herds have declined in size and range and consist of less than 50
individuals. Several of these herds still show declining trends. Southern Mountain Caribou are
listed as threatened under Canada’s Species at Risk Act and has been proposed for endangered
status by the Committee on the Status of Endangered Wildlife in Canada.
       43.     The southern Selkirk Mountains population of woodland caribou is the
southernmost extant, local population of woodland caribou in North America. The population
historically ranged as far south as the Salmon River in Idaho and east to Montana, and scientists
estimate this population may have included hundreds of individuals in the late 1800s. Since
then, several factors caused significant range contraction, including habitat loss and
fragmentation from logging and fire, poaching, predation, and disturbance from snowmobiles
and other winter recreation.
       44.     After receiving petitions in 1980 to list the southern Selkirk Mountains population
of woodland caribou under the Endangered Species Act, the Service recognized the highly
COMPLAINT – 10
        Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 11 of 16



imperiled status of the population and used the Act’s emergency procedures twice to list this
population in northeastern Washington, northern Idaho, and southeastern British Columbia as
endangered. At that time scientists estimated that only 13 to 20 caribou remained in the
population. On February 29, 1984, the Service issued a final rule listing the species as
endangered (49 Fed. Reg. 7390). The Service declared it would not issue critical habitat
concurrent with listing due to fears of increased poaching.
       45.     After the Service listed the southern Selkirk Mountains population of woodland
caribou as endangered under the ESA, the Service completed a recovery plan in 1985, which it
revised in 1994. The 1985 Recovery Plan set an intermediate population target of 100 to 109
caribou, and the 1994 Recovery Plan set a goal of maintaining two herds in British Columbia and
Idaho and establishing a third herd in Washington. The Service found it necessary to manage at
least 443,000 acres of habitat in the Selkirk Mountains to support a self-sustaining caribou
population.
       46.     The population ranged from 33 to 51 animals between 1991 and 2009, consisting
of approximately 45 caribou as recently as 2009. However, the population declined rapidly
thereafter, with monitoring efforts detecting just 12 caribou in 2017. By spring of 2018, the
southern Selkirk Mountains population of woodland caribou consisted of only three caribou.
This winter, Canadian officials penned the few remaining caribou in the Selkirk Mountains
population, taking the last caribou into captivity on January 14, 2019.
II. Critical Habitat

       47.     After the 1984 listing of the southern Selkirk Mountains population of woodland
caribou as endangered, the Service never designated critical habitat. Therefore, on December 6,
2002, more than 18 years after the Service listed the southern Selkirk Mountains population of
woodland caribou, Plaintiffs and others petitioned the Service to designate critical habitat for this
population. On February 10, 2003, the Service acknowledged receipt of the petition but stated
that it was unable to address the petition due to budgetary constraints. After another six years
went by with no substantive action by the Service, the petitioners filed a complaint for


COMPLAINT – 11
        Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 12 of 16



declaratory and injunctive relief in federal district court. The parties signed a stipulated
settlement agreement in which the Service agreed to make a determination as to whether to
designate critical habitat no later than November 20, 2011.
       48.     On November 30, 2011, the Service published a proposed rule to designate
approximately 375,562 acres as critical habitat in Boundary and Bonner Counties in Idaho and
Pend Oreille County in Washington (76 Fed. Reg. 74,018). This proposal included occupied
habitat as well as unoccupied habitat that the Service determined was necessary for recovery of
the population. The Service accepted public comment and peer review on the proposed
designation.
       49.     On November 28, 2012, the Service issued a final rule, designating only 30,101
acres of critical habitat in Boundary County, Idaho and Pend Oreille County, Washington (77
Fed. Reg. 71,042). This final designation represented a reduction of more than 93 percent from
the land originally proposed for critical habitat designation by the Service.
       50.     On September 30, 2013, Plaintiffs and others filed a complaint in Idaho federal
district court challenging the critical habitat designation, and specifically questioning the validity
of the Service’s significant departure from its original proposed designation. On March 23,
2015, the U.S. District Court of Idaho remanded the Service’s final critical habitat rule, finding
that the Service violated law by failing to provide public notice and opportunity to comment on
the significant change between the proposed critical habitat designation and the final designation.
III. Petition to Delist and the Service’s Proposed Recognition of the Southern Mountain
Caribou DPS

       51.     On May 9, 2012, on behalf of Bonner County, Idaho and the Idaho State
Snowmobile Association, the Pacific Legal Foundation petitioned the Service to delist the
southern Selkirk Mountains population of woodland caribou from the list of endangered species.
       52.     In response, on December 19, 2012, the Service published a 90-day finding
stating that the petition presented substantial information that the current southern Selkirk
Mountains population of woodland caribou may not be a listable entity under the 1996 DPS
Policy (77 Fed. Reg. 75,091).

COMPLAINT – 12
        Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 13 of 16



       53.     On May 8, 2014, the Service published a proposed rule on the petition (79 Fed.
Reg. 26,504). The Service found that delisting the species is not warranted and simultaneously
proposed to amend the current listing of the southern Selkirk Mountains population of woodland
caribou by recognizing and defining the Southern Mountain Caribou DPS. The Southern
Mountain Caribou DPS includes several local woodland caribou herds that occur in southern
British Columbia, including the southern Selkirk Mountains population of woodland caribou in
southern British Columbia, northern Idaho, and northeastern Washington.
       54.     The Service found that the Southern Mountain Caribou DPS meets the criteria for
a DPS under the 1996 DPS Policy. The Service found that the DPS is discrete because it is
markedly separated from all other populations of woodland caribou; it is geographically,
behaviorally, and reproductively isolated from other woodland caribou. The Service also found
that the DPS is significant because it persists in a unique ecological setting for woodland caribou
and loss of the Southern Mountain Caribou would result in a significant gap in the range of the
woodland caribou species. Thus, the Service concluded that the Southern Mountain Caribou
DPS is a listable entity under the ESA.
       55.     The Service also found that the Southern Mountain Caribou DPS is facing
significant threats including: 1) destruction and curtailment of habitat due to logging, forest fires,
insect outbreaks, human development, recreation and climate change; 2) predation from wolves
and cougars; 3) lack of adequate regulatory mechanisms in the United States and Canada that
effectively address the identified threats to the DPS; and 4) risk from stochastic events such as
avalanches. The Service thus proposed to list the Southern Mountain Caribou DPS as threatened
under the ESA.
       56.     In this proposed rule, the Service also affirmed its previously finalized critical
habitat designation of 30,010 acres, noting it shall apply to the Southern Mountain Caribou DPS.
       57.     Following issuance of this proposed rule, the Service held two public hearings
and accepted public comments for 90 days.
       58.     After the public comment period had closed, the Committee on the Status of
Endangered Wildlife in Canada finalized its biological assessment of the Southern Mountain
COMPLAINT – 13
         Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 14 of 16



caribou population, changing its designation from threatened to endangered. The assessment
contained pertinent updates on population size, population trends, current threats to the
population, and population viability analyses. Because the Service believed that these updates
would add to the best scientific and commercial data available, upon which any final rule must
be based, the Service reopened the comment period for the proposed rule on March 25, 2015 (80
Fed. Reg. 15,545).
IV. The Final Proposed Rule

        59.     In order to comply with the court’s order remanding the 2012 critical habitat
designation for further notice and comment, the Service opened a comment period on the 2012
critical habitat designation on April 19, 2016 (81 Fed. Reg. 22,961). The Service declared this
comment period as a reopening of the comment period on the May 8, 2014 proposed rule, within
which the Service proposed to define as a DPS and list as threatened the Southern Mountain
Caribou DPS and simultaneously reaffirmed the agency’s 2012 critical habitat designation.
        60.     Since reopening the comment period on these proposals in 2016, the Service has
failed to finalize listing the Southern Mountain Caribou DPS and failed to finalize any critical
habitat designation.
        61.     On February 13, 2019, Plaintiffs sent Defendants a 60-day notice of intent to sue
for the agency’s failure to issue a final rule. On April 16, 2019, the Service responded to the
notice stating its intent to finalize the listing and critical habitat rules but failed to commit to a
deadline for doing so.
                                       CAUSE OF ACTION
                                   Violation of the ESA and APA

    (Failure to Make a Final Determination on the Proposed Rules to Define and List as
    Threatened the Southern Mountain Caribou DPS and to Designate Critical Habitat)

        62.     Plaintiffs hereby incorporate all preceding paragraphs.
        63.     The ESA requires the Service to issue its final determination within one year of its
publication of the proposed listing. 16 U.S.C. § 1533(b)(6)(A).
        64.     The Service first proposed defining the Southern Mountain Caribou DPS and

COMPLAINT – 14
           Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 15 of 16



listing it as threatened under the ESA on May 8, 2014. The Service reopened the proposed rule
for comments on March 25, 2015 and on April 19, 2016. It has been over three years since the
last publication of this proposed rule.
          65.    The Service’s failure to make a final determination listing the Southern Mountain
Caribou DPS violates the ESA’s deadline provisions and constitutes agency action that has been
“unlawfully withheld or unreasonably delayed” under the APA. Id. § 1533(b)(6)(A); 5 U.S.C. §
706(1).
          66.    The ESA requires the Service to designate critical habitat for a listed species
concurrent with the listing of the species, or at least within a one-year period if critical habitat is
not determinable at the time of listing. 16 U.S.C. §§ 1533(a)(3)(A)(i); 1533 (b)(6)(C)(ii).
          67.    The southern Selkirk Mountains population of woodland caribou was listed as
endangered under the ESA in 1984.
          68.    Prompted by litigation, the Service finally issued a proposed critical habitat rule
on November 30, 2011, and a final rule designating critical habitat on November 28, 2012. On
March 23, 2015, the U.S. District Court of Idaho vacated and remanded the final critical habitat
designation.
          69.    To comply with the court’s order, on August 19, 2016, the Service reissued a
proposed critical habitat designation and opened a public comment period. It has been over three
years since the last publication of this proposed rule.
          70.    The Service’s failure to make a final determination on designating critical habitat
violates the ESA’s deadline provisions and constitutes agency action that has been “unlawfully
withheld or unreasonably delayed” under the APA. Id. §§ 1533(a)(3)(A)(i); 1533 (b)(6)(C)(ii); 5
U.S.C. § 706(1).
                                          REQUEST FOR RELIEF

          WHEREFORE, Plaintiffs respectfully request this Court:

          A. Declare the Service violated the ESA and APA by failing to timely make a final




COMPLAINT – 15
        Case 2:19-cv-00265-CWD Document 1 Filed 07/10/19 Page 16 of 16



determination on the listing of and designation of critical habitat for the Southern Mountain

Caribou DPS;

       B. Order the Service to make a final determination on the definition and listing of the

Southern Mountain Caribou DPS in compliance with the requirements of the ESA and APA;

       C. Order the Service to make a final determination on the designation of critical habitat

for the Southern Mountain Caribou DPS in compliance with the requirements of the ESA and

APA;

       D. Award Plaintiffs their reasonable attorneys’ fees, costs, and litigation expenses under

the ESA, 16 U.S.C. § 1540(g), the Equal Access to Justice Act, and/or any other applicable

provision of law; and

       E. Grant such further and additional relief as the Court deems just and proper in order to

remedy the violations of law alleged herein and to protect the interests of Plaintiffs, the public,

and the affected species.

       Dated: July 10, 2019                                   Respectfully submitted,


                                                              /s/ Andrea Santarsiere
                                                              Andrea Santarsiere (ISB #8818)
                                                              Center for Biological Diversity
                                                              P.O. Box 469
                                                              Victor, ID 83455
                                                              (303) 854-7748
                                                              asantarsiere@biologicaldiversity.org

                                                              Lauren M. Rule (ISB # 6863)
                                                              Advocates for the West
                                                              3701 SE Milwaukie Ave, Suite B
                                                              Portland, OR 97202
                                                              (503) 914-6388
                                                              lrule@advocateswest.org

                                                              Attorneys for Plaintiffs



COMPLAINT – 16
